X       The petition dated February 5, 2014
        is so superseded.
                             18th
    February      2014



         /s/ Joe B. Brown




Case 2:13-cr-00001          Document 67       Filed 02/21/14   Page 1 of 7 PageID #: 176
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 2 of 7 PageID #: 177
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 3 of 7 PageID #: 178
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 4 of 7 PageID #: 179
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 5 of 7 PageID #: 180
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 6 of 7 PageID #: 181
Case 2:13-cr-00001   Document 67   Filed 02/21/14   Page 7 of 7 PageID #: 182
